8:16-cr-00248-BCB-MDN            Doc # 121       Filed: 01/04/17      Page 1 of 1 - Page ID # 254



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                       8:16CR248

       vs.
                                                                           ORDER
SINDY RENTERIA-HUESO,

                       Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND TIME IN WHICH TO
FILE PRETRIAL MOTIONS [119]. For good cause shown, I find that the motion should be granted.
The defendant will be given an approximate 69-day extension. This continuance is issued in order to
coincide with extensions of time given to other co-defendants in this matter. Pretrial Motions shall
be filed by March 13, 2017.


       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND TIME IN WHICH TO FILE PRETRIAL
MOTIONS [119] is granted. Pretrial motions shall be filed on or before March 13, 2017.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between January 3, 2017 and March 13, 2017, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       Dated this 4th day of January, 2017.

                                                       BY THE COURT:
                                                       s/ F.A. Gossett, III
                                                       United States Magistrate Judge
